Case 3:07-cv-02440-EDL Document16-4 Filed 08/30/2007 Page 1 of 3

 

Exhlblt l

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' .
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" |"1!, 'H il . ij *'~

LETTER OF AGENCY
AUTHORIZATION TO ALLOW CHANGES'
TO YOUR LO CAL T()LL SERVICE PROVIDER AND/OR
LONG DISTANCE SERVICE PROVIDER

iml$k§* Telephone NQ; __ ;; ___ g ‘ il

 

 

 

   

Custorner Name:

 

I understand that s charge of $4.9'7 per line to switch providers may ap ply iihr local toll service only and a
charge of $5._26 per line to switch providers may apply for long distance service only. Or a charge of $2.49

.to switch my local toll provider may apply and $5.26 per line to switch my long distance service provider
may apply when switching both to the same carrier. In addition, l understand that l can choose only one

provider for local toll service and long distancel I‘Fl later wish to return to rny current service provider, I

may be required to pay a reconnecti on charge to that company. l also understand that SBC California
and/or SBC_Long Distance Cornpany may have different rates and charges than my current service providerll
and that by signing below l indicate that l understand those differences (if any). Checl.t only one box below,

preferred carrier.

... F

1. _ By checking here,l I authorize SBC Calil`ornia to provide local toll service to my telephone
‘ number(s) listed below, and no others. t

Ol‘

2.. B y checking here,r l authorize SPC Long Distance Cornpany to provide local toll service to my
telephone nomber(s) listed below, and no others.

'l`elephone numbers to be changed: lt`more space is needed, please attach a separate llst, each page to be
initialed by the person signing below.

-_.»Bzm(jb l "j*-,A ' l$'» § ‘.-u»

 

Lll€- ..t w _._@ 1 ,________ - "
., … ____`_m___`___l__~_

 

 

 

NOTE: 'l`he above listed telephone number(s) represent the billed telephone number and all associated

` working telephone numbers u ess__..s/-,-ated otherwise _`
_ ' . . . . "="` ft ii\
Authorlzed Stgnature: _ f _ ...»»" - ' _ _ _ Date: 6a ed re

3r il By checking here, l authorize SBC long Distance Company to provide long distance service to
my telephone number (s) listed below, and no others

JFll\| 21 2@@3 14:2'?` FR @El 9258@6@6¥19 TO 14158823'78'? P.. @8/13

Tele`phone numbers to he changed: If` more space is needed, please attach a separate list, each page to be
initialed by the person signing below.

twaa.%'.>
-/OSB

 

 

 

 

NOIE: Thc above listed telephone nun'.tber(s) represent the billed telephone number and all associated
working telephone numbers unless stated otherwise

Authorized Signature: _ _ __ k __ _.,»»r“~\_ __ __

\.l-*

 

Date:
_T__'_"`"'"f"_'“*_"

l certify that l have read and underst

and this letter of Agency. I further certify that l
years of age, and that l am authorize

am at least eighteen
d to change companies for services to the telepl

 

tone numbers listed
above.
.Authorized Signat'ure: _ __ _ _ _ _ __ ______ Datc:

Authorized Name (PR]NT): 5 :§" h _ _ ..' 1 13 ' . ' - - .. .- _ --

OI'FAXto: ll d -"" -, l' 25

Forrn Retention Period: 2 Yeazs

